                    Case 4:10-cr-00159-LGW-CLR Document 823 Filed 06/26/15 Page 1 of 1
AO 247 (10/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U. S.C. § 3582(cX2)      Page I of (Page 2 Not for Public Disclosure)


                                                           UNITED STATES DISTRICT COURT
                                                                                                                                       US       0
                                                                                    for the                                              SAVJN4 H 1,/RT
                                                                    Southern District of Georgia
                                                                        Savannah Division
                                                                                                                                               JUN 2b 1015
                        United States of America
                                        V.
                                                                                       )
                                                                                                                                CLERK
                                                                                       )



                                                                                       )
                                                                                           Case No: 4:10CR00159-20
                              Jermaine Tandy                                           )
                                                                                           USMNo: 16256-021
                                                                                       )


Date of Original Judgment:         May 9, 2012                                         )
                                                                                           Julie M. Wade
Date of Previous Amended Judgment:                                                     )
                                                                                           Defendant's Attorney
(Use Date of Last Amended Judgment, if any)


                                          Order Regarding Motion for Serifciice Redictioii Purstuiiit to 18 U.S.C. § 3582(c)(2)


             Upon motion of               the defendant Lii the Director of the Bureau of Prisons Liljlthe court under 18 U.S.C.

§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § lB 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,


IT IS ORDERED that the motion is:
    DENTED. E1GRANTED and the defendants previously imposed sentence of imprisonment (as reflected in the last judgment
issued) of        210       months is reduced to                168 months


                                                     (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated                            MayA 2012 ____shall remain i
IT IS SO ORDERED.

Order Date:                                      .



                                                                                           Dudley II, Bowen, Jr.
 Effective Date: November 1, 2015                                                          United States District Judge
                          (if dTerent from order date)                                                          Printed name and title
